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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:                                         )
                                               )
Petr Vach,                                     )          Case No.: 6:19-bk-00976-KSJ
Heather Dawn Vach,                             )          Chapter 7
                                               )
                 Debtors.                      )

                            NOTICE OF PRELIMINARY HEARING

       NOTICE IS HEREBY GIVEN that a preliminary hearing in this case will be held on
November 19, 2019 at 11:00 a.m. in Courtroom 6A, 6th Floor, George C. Young Courthouse, 400
West Washington Street, Orlando, FL 32801 to consider and act upon the following and transact
such other business that may come before the Court:

       Chapter 7 Trustee’s Motion to (I) Approve A Short Sale of Real Property Free and Clear
of Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C. §363(b), (f), and (m), (II)
Surcharge Agreement Between Secured Lender and the Estate, and (III) Other Relief

          The hearing may be continued upon announcement made in open Court without further
notice.

        Appropriate Attire. You are reminded that Local Rule 5072-1(b)(16) requires that all
persons appearing in Court should dress in business attire consistent with their financial abilities.
Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.

        Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073-
1 restricts the entry of cellular telephones and, except in Orlando, computers into the Courthouse
absent a specific order of authorization issued beforehand by the presiding Judge. Due to
heightened security procedures, persons must present photo identification to enter the Courthouse.


          Dated: October 22, 2019

                                               /s/ Lori Patton, Trustee
                                               Lori Patton
                                               PO Box 520547
                                               Longwood, FL 32752
                                               Phone: (407) 937-0936
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        I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Preliminary
Hearing was furnished by first class United States Mail, postage prepaid, or by electronic delivery,
to all persons on the mailing matrix, attached to the original of this document, as furnished by the
Clerk’s office on October 22, 2019.


                                               /s/ Lori Patton
                                               Lori Patton
                             Case 6:19-bk-00976-KSJ
Label Matrix for local noticing                            Doc 27-1 Filed 10/22/19
                                             Heather Dawn Vach                       Page   3 of 3
                                                                                     Petr Vach
113A-6                                       910 Hawk Landing                        910 Hawk Landing
Case 6:19-bk-00976-KSJ                       Fruitland Park, FL 34731-6538           Fruitland Park, FL 34731-6538
Middle District of Florida
Orlando
Tue Oct 22 13:49:02 EDT 2019
Chase Bank USA, N.A.                         Discover Bank                           Internal Revenue Service
c/o National Bankruptcy Services, LLC        Discover Products Inc                   Post Office Box 7346
P.O. Box 9013                                PO Box 3025                             Philadelphia PA 19101-7346
Addison Texas 75001-9013                     New Albany, OH 43054-3025


U.S. Bank NA dba Elan Financial Services      Verizon                                Lori Patton +
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1475 Centerpark Blvd., Suite 130              2001 Western Avnue                     Post Office Box 2807
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Note: Entries with a ’+’ at the end of the    End of Label Matrix
name have an email address on file in CMECF   Mailable recipients      12
                                              Bypassed recipients       0
                                              Total                    12
